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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS
                                      No. 13-678V
                                  Filed: July 3, 2014
                                (not to be published)
****************************
JOHN PATRICK LOUVIERE and           *
STACY MAYEAUX-LOUVIERE,             *
Parents of A.G.L.,                  *
a minor,                            *      Dismissal; MMR; ITP; insufficient proof
                                    *
                   Petitioners,     *
             v.                     *
                                    *
SECRETARY OF HEALTH                 *
AND HUMAN SERVICES,                 *
                   Respondent.      *
****************************
                                      DECISION1
Gowen, Special Master:

      On September 13, 2013, petitioners filed a petition for Vaccine Compensation in the
National Vaccine Injury Compensation Program [“the Program”],2 alleging that the measles,
mumps, rubella [MMR] vaccine caused their daughter A.G.L.’s idiopathic thrombocytopenic
purpura [ITP].

       After more extensive investigation and a status conference held on June 9, 2014, it
appeared that there was insufficient proof for this petition. Accordingly, petitioners moved for a
decision dismissing this petition on June 27, 2014. Petitioners’ motion is granted.

      This case is dismissed for insufficient proof. The Clerk shall enter judgment
accordingly.

IT IS SO ORDERED.
                                              s/ Thomas L. Gowen
                                              Thomas L. Gowen
                                              Special Master

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend to post this decision on
the United States Court of Federal Claims' website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, §
205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b),
petitioners have 14 days to identify and move to delete medical or other information, that satisfies the criteria in § 300aa-
12(d)(4)(B). Further, consistent with the rule requirement, a motion for redaction must include a proposed redacted decision.
If, upon review, I agree that the identified material fits within the requirements of that provision, I will delete such material
from public access.
2
  The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755,
codified as amended, 42 U.S.C. §§ 300aa-10 et seq. (hereinafter “Vaccine Act” or “the Act”). Hereafter, individual section
references will be to 42 U.S.C. § 300aa of the Act.
